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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
                                                 §
 VS.                                             §     CASE NO. 1:07-CR-123(6)
                                                 §
 TYEITA YVETTE LOVE                              §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        The District Court referred this matter to the undersigned United States Magistrate Judge

 for administration of a guilty plea and allocution under Rules 11 and 32 of the Federal Rules of

 Criminal Procedure. Magistrates have the statutory authority to conduct a felony guilty plea

 proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United States v. Bolivar-

 Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

        On June 24, 2008, this cause came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the Defendant, Tyeita Yvette Love, on Count One of the

 charging Amended Information filed in this cause [Clerk’s doc. #233]. Count One of the

 Amended Information charges that from on or about January 2005 to on or about August 2006,

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 in the Southern District of Texas, Tyeita Yvette Love, Defendant herein, conspired to commit

 money laundering in violation of Title 18, United States Code, Section 1956(h). The charged

 offense is set forth more specifically in the Amended Information and in the Amended Elements

 of the Offense, also on file.

         Defendant, Tyeita Yvette Love, entered a plea of guilty to Count One of the Amended

 Information1 into the record at the hearing.

         After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

         a.      That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

         b.      That Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal.

         c.      That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant’s plea is voluntary and did not

 result from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).



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        The Defendant executed a waiver of Indictment which was addressed on the
 record at the hearing.


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        d.      That Defendant’s knowing, voluntary and freely made plea is supported by an

 independent factual basis establishing each of the essential elements of the offense and

 Defendant realizes that her conduct falls within the definition of the crime charged under 18

 U.S.C. § 1956(h).

                                  STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented the following

 evidence, which was admitted into the record at the plea hearing. See Factual Basis and

 Stipulation. If the case proceeded to trial, the Government and Defendant agreed and stipulated

 to the information set forth in the factual basis which would be used by the Government in

 support of the Defendant’s plea of guilty. The Government and Defendant agreed that the

 Government would have proven that Defendant is one and the same with the person charged in

 the Amended Information and that the events described in the Amended Information occurred on

 the dates and in the places alleged in the Southern District of Texas. The Government and

 Defendant agreed that the Defendant waived venue in her plea agreement to resolve the

 allegations in the Amended Information here in the Eastern District of Texas. The Government

 would have proven, through the testimony of witnesses and through admissible exhibits, beyond

 a reasonable doubt, each and every essential element of the offense alleged; specifically, the

 Government would have proven certain stipulated facts set forth in the Factual Basis, on file in

 the record of this cause. The Factual Basis states those facts as follows:

        That on or about December 2003 to on or about August 2006, Tyieta Yvette Love

 (defendant) combined, conspired and agreed with Thomas Bernard Miller and others known and


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 unknown to conceal or disguise the nature, location, the source, the ownership or the control of

 the proceeds of a specified unlawful activity namely, distribution of cocaine HCL.

        That clandestine bulk money shipments were made, or were attempted to be made in the

 course of the conspiracy via: physical transportation in motor vehicles containing hidden

 compartments; United Parcel Service or Federal Express mail service using fictitious names

 and/or account numbers in order to conceal or disguise the nature, location, the source, the

 ownership or the control of the proceeds of a specified unlawful activity.

        The Government would show that in the course of said conspiracy, the defendant

 transported or attempted to transport bulk money shipments of United States currency in an

 amount of $200,001.00. On August 16, 2006, the defendant was interdicted by law enforcement

 officers in St. Louis, Missouri in the process of transporting $109,000.00 in United States funds

 that had been secreted in a hidden compartment behind the dash panel of a 2000 Lincoln

 automobile. Said Lincoln was one of a number os Lincolns used by the Miller organization for

 the transportation of contraband. Said funds were the proceeds of the sale of cocaine HCL by

 members of the Thomas Miller cocaine trafficking organization and the defendant was stopped

 en-route to deliver that bulk cash shipment to Thomas Miller in Houston, Texas.

        Thomas Miller would have testified at trial that the defendant had made similar previous

 trips on his behalf to transport, inter alia, bulk money shipments that totaled at minimum

 $200,001.00 in United States currency. At the time of defendant's receipt of said bulk money

 shipment(s), defendant knew that said funds were the proceeds of a specified unlawful activity,

 namely distribution of cocaine HCL.


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          The Government would finally prove that after receiving the previous bulk shipment(s)

 of United States funds (prior to the date of her interdiction in Missouri in August 2006), the

 defendant delivered said funds to Thomas Bernard Miller.

          Defendant, Tyeita Yvette Love, agreed with the facts set forth by the Government and

 signed the Factual Basis. Counsel for Defendant and the Government attested to Defendant’s

 competency and capability to enter an informed plea of guilty. The Defendant agreed with the

 evidence presented by the Government and personally testified that she was entering her guilty

 plea knowingly, freely and voluntarily.

                                        RECOMMENDED DISPOSITION

          IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count One of the charging Amended Information on file in

 this criminal proceeding. The Court also recommends that the District Court conditionally

 accept the plea agreement.2 Accordingly, it is further recommended that, Defendant, Tyeita


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            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably

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 Yvette Love, be finally adjudged as guilty of the charged offense under 18 U.S.C. § 1956(h).

          Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

 that the District Court may reject her plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

 presentence report because the sentencing guidelines are advisory in nature. The District Court

 may defer its decision to accept or reject the plea agreement until there has been an opportunity

 to consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

 agreement, the Court will advise Defendant in open court that it is not bound by the plea

 agreement and Defendant may have the opportunity to withdraw her guilty plea, dependent upon

 the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is

 rejected and Defendant still persists in the guilty plea, the disposition of the case may be less

 favorable to Defendant than that contemplated by the plea agreement. Defendant has the right to

 allocute before the District Court before imposition of sentence.

                                                  OBJECTIONS

          Within ten (10) days after receipt of this report, any party may serve and file written

 objections to the report and recommendation of the Magistrate Judge pursuant to 28 U.S.C. §

 636(b)(1)(C). Failure to file written objections to the proposed findings of facts, conclusions of

 law and recommendations contained within this report within ten (10) days after service shall bar

 an aggrieved party from de novo review by the District Judge of the proposed findings,



 toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).
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 conclusions and recommendations, and from appellate review of factual findings and legal

 conclusions accepted by the District Court except on grounds of plain error. Douglass v. United

 Serv. Auto. Ass’n., 79 F.3d 1415 (5th Cir. 1996) (en banc); 28 U.S.C. § 636(b)(1). The
   .
 constitutional safeguards afforded by Congress and the courts require that, when a party takes

 advantage of his right to object to a magistrate’s findings or recommendation, a district judge

 must exercise its nondelegable authority by considering the actual evidence and not merely by

 reviewing and blindly adopting the magistrate’s report and recommendation. See Hernandez v.

 Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir.

 1981) (per curiam).




                       SIGNED this the 25th day of June, 2008.




                                                       ____________________________________
                                                       KEITH F. GIBLIN
                                                       UNITED STATES MAGISTRATE JUDGE




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